         Case 4:22-cv-03892-YGR Document 145-1 Filed 01/26/24 Page 1 of 3



1    Meredith Martin Addy (pro hac vice)
     ADDYHART P.C.
2    10 Glenlake Parkway, Suite 130
     Atlanta, Georgia 30328
3
     312.320.4200
4    meredith@addyhart.com

5    Paul Tauger
     ADDYHART P.C.
6    5151 California Street, Suite 100
     Irvine, California 92617
7
     949.438.3218
8    paul@addyhart.com

9    Robert Hart (pro hac vice pending)
     Brandon C. Helms (pro hac vice pending)
10   ADDYHART P.C.
11   401 N. Michigan Ave., Suite 1200-1
     Chicago, Illinois 60611
12   949.337.0568
     312.731.6568
13   robert@addyhart.com
     bhelms@addyhart.com
14

15   Attorneys for Involuntary Plaintiff Thales Visionix, Inc.

16                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18
      GENTEX CORPORATION and INDIGO
19    TECHNOLOGIES, LLC,                                   Case No. 4:22-cv-03892-YGR

20                   Plaintiffs,                           DECLARATION OF PAUL N.
                                                           TAUGER IN SUPPORT OF
21    THALES VISIONIX, INC.,                               INVOLUNTARY PLAINTIFF THALES
                                                           VISIONIX, INC.’S ADMINISTRATIVE
22
                     Involuntary Plaintiff,                MOTION TO SEAL PORTIONS OF
23                                                         RESPONSE TO JOINT MOTION TO
             v.                                            DISMISS
24
      META PLATFORMS, INC. and META                        Date:       February 20, 2024
25    PLATFORMS TECHNOLOGIES, LLC,                         Time:       2:00 p.m.
                                                           Location:   Courtroom 1, 4th Floor
26
                     Defendants.                           Judge:      Hon. Yvonne Gonzalez Rogers
27

28
      TAUGER DECL. IN SUPPORT OF MOT. TO
      SEAL                                             2         Case No. 4:22-cv-3892-YGR
         Case 4:22-cv-03892-YGR Document 145-1 Filed 01/26/24 Page 2 of 3



1              I, Paul N. Tauger, do hereby declare as follows:

2              1.     I am an attorney licensed to practice law in the States of California. I am an associate

3    with AddyHart P.C., located at 5151 California Street, Suite 100, Irvine, CA 92617. I am counsel for

4    Involuntary Plaintiff Thales Visionix, Inc. (“Thales”) in the above-captioned action. I have personal

5    knowledge of the matters set forth below and if called and sworn as a witness, I could and would

6    testify competently to the facts set forth herein.

7              2.     I make this declaration in support of Thales’s Administrative Motion to Seal Portions

8    of the Response to the Joint Motion to Dismiss. I am familiar with Thales’s treatment of highly

9    proprietary and confidential information based on my personal experience representing Thales.
10             3.     I make this declaration in accordance with Local Rules 7-11(a) and 79-5 in support of
11   Thales’s Administrative Motion to File Under Seal Portions of and Exhibits to the Response to the
12   Joint Motion to Dismiss.
13             4.     Exhibit A to the Joint Motion to Dismiss is a copy of a settlement agreement
14   (“Settlement Agreement”) signed between Gentex Corporation and Indigo Technologies, LLC
15   (collectively, “Gentex”) and Meta Platforms, Inc. and Meta Platforms Technologies, LLC
16   (collectively, “Meta”). (ECF No. 140, ¶ 4). Exhibit B to the Joint Motion to Dismiss is a Term Sheet
17   (“Term Sheet”) signed by Thales, Gentex, and Meta. (Id.).
18             5.     Exhibit 1 to the Response to the Joint Motion to Dismiss is a true and correct copy of
19   an email (“Email”) sent from Meredith Martin Addy on December 22, 2023 to Ellisen Turner, counsel

20   for Meta, and to Adam Harber, counsel for Gentex, in which Thales withdrew from the Term Sheet.

21             6.     The Settlement Agreement and Term Sheet reflect confidential business information of

22   the Parties, including financial terms and details of confidential licensing negotiations. Such details

23   constitute sensitive business information, not publicly available or publicly disclosed, which the

24   Parties maintain in the strictest confidence. To make publicly available these details about the Parties’

25   licensing activities would cause substantial economic and competitive harm to the Parties, including

26   Thales.

27             7.     Certain portions of the Response to the Joint Motion to Dismiss discuss the terms of

28   the Agreement and Term Sheet. These portions also reflect sensitive business information about the
      TAUGER DECL. IN SUPPORT OF MOT. TO
      SEAL                                        3           Case No. 4:22-cv-3892-YGR
         Case 4:22-cv-03892-YGR Document 145-1 Filed 01/26/24 Page 3 of 3



1
     Parties’ licensing practices, disclosure of which would cause substantial economic and competitive
2
     harm to the Parties, including Thales. The narrowly tailored portions of the Response to the Joint
3
     Motion that reflect or contain these confidential details are highlighted in yellow.
4
            8.      I declare under penalty of perjury under the laws of the United States of America that
5
     the foregoing is true and correct to the best of my knowledge.
6
            Executed this 26th day of January, 2024, in Irvine, California.
7

8

9
                                                    /s/Paul N. Tauger
                                                    Paul N. Tauger
10
                                                    Counsel for Involuntary Plaintiff
11                                                  Thales Visionix, Inc.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
      TAUGER DECL. IN SUPPORT OF MOT. TO
      SEAL                                             4           Case No. 4:22-cv-3892-YGR
